            Case 1:23-cr-10157-AK Document 1-1 Filed 05/02/23 Page 1 of 12




                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Thomas Karns, being duly sworn, state as follows:

       1.       Since November of 2002, I have been employed by the Harvard University Police

Department as a Police Officer. Since May of 2006, I have been assigned to the Criminal

Investigation Division, which is a unit specializing in follow-up investigations. Since June of 2022,

I have been assigned to the Federal Bureau of Investigation’s Joint Terrorism Task Force and have

been sworn as a Deputy U. S. Marshal. I have received specialized training in computer forensic

examinations, cell phone forensic examinations, interview and interrogation techniques, computer

investigation training, dignitary protection training, and crime scene processing training. Prior to

my employment with the Harvard University Police Department, I was employed as a police

officer for the City of Boca Raton, Florida from September of 2000 to October of 2002. I have a

Master of Liberal Arts in Extension Studies degree with a concentration in information

management systems from Harvard University. During my 22 years as a police officer, I have

participated in numerous investigations involving serious crimes, including homicides, rapes,

assaults, armed robberies, and narcotics offenses. I have participated in the drafting and execution

of more than 20 search warrants.

       2.       I am submitting this Affidavit in support of an application for a criminal complaint

charging WILLIAM A. GIORDANI (“GIORDANI”) (YOB 1968), with violations of: 18 U.S.C.

§§ 875(b) and 2 (aiding and abetting interstate extortion); and 18 U.S.C. § 371 (conspiracy) in

connection with a series of extortionate bomb threats to Harvard University on April 13, 2023.

       3.       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other law enforcement personnel and witnesses. Where

statements of others are set forth in this affidavit, they are set forth in sum and substance and not



                                                 1
             Case 1:23-cr-10157-AK Document 1-1 Filed 05/02/23 Page 2 of 12




verbatim. The events described in this affidavit occurred on or about the dates and times provided

herein. This affidavit is intended to show merely that there is sufficient probable cause to conclude

that GIORDANI commited the offenses set forth above.

                                           The Craigslist Ad

        4.       On or about April 11, 2023, an individual identifying himself as “Nguyen Mihn”

posted an advertisement on craigslist.org at the following uniform resource locator:

https://boston.craigslist.org/gbs/lbg/d/harvard-pay-for-small-side-job-will/7609387366.html. The

advertisement was titled: “I pay for a small side job. Will need items purchase and moved.

(Cambridge)” The body of the ad read:

        Hello I am single father of 3 and my eldest son gos to Harvard. He need some supplys
        delivered to him before Monday and I dont have time to bring to him. I need you to buy
        some item for him and deliver, I am very busy I cant and my son need to stay study. Will
        pay very well, i will also pay back for cost of items. We are Vietnamese family, sorry for
        poor english.

The Subject listed a contact number of 201-468-0677, and was willing to pay $300 for the service.

                                       The Extortionate Threat

        5.       On April 13, 2023, at approximately 14:27 in the afternoon, the Harvard University

Police Department (HUPD) dispatcher received a call from 201-468-0677. 1 The caller stated,

through what sounded like a computer-generated male voice which appeared designed to disguise

the caller’s identity, as follows:

        There are three bombs planted around the Harvard Campus and we are ready to
        provide undeniable proof. For the sake of the student do not hang up until we have
        had a chance to demonstrate that this situation is real. This call is a follow up to one
        you received a few hours ago and I want to reiterate that this is not a prank. We are


1
  On April 13, 2023, HUPD used open source information to determine that 201-468-0677 was registered with
Bandwidth.com. An Emergency Disclosure Request was sent to Bandwidth.com and Bandwidth.com indicated that
the phone number was leased to Google. On April 13, 2023, HUPD sent Google LLC an Emergency Disclosure
Request for information about the telephone number. Google responded that the number was a Google Voice
number assigned to a specific Google account which had been opened in early April 2023.

                                                    2
  Case 1:23-cr-10157-AK Document 1-1 Filed 05/02/23 Page 3 of 12




not foolish children, and we are not here to waste your time. We do not want to
provoke a law enforcement response. In fact, it is better that you do not take any
action until we have made our terms clear. If you choose to hang up the call, we
will try and contact you again, and if our attempts at making contact seem pointless,
we will just detonate all three bombs. The remainder of this message is rendered
with significantly advanced voice technology but for the sake of hundreds of
students you will listen closely to it.
There are bombs on campus and we are ready to provide proof. Do not hang up.
This message will be no longer than minutes and will contain detailed explanation
for how we believe this threat is real and will also contain our demands. This is not
a joke, a prank, or a drill. There are real lives at stake today. Earlier today our team
planted three remotely detonated improvised explosive devices in populated areas
across the Harvard campus. While we do not want to detonate these devices, we
will not hesitate to do so if you fail to meet our demands. We are prepared to
disclose to you the location of one of these bombs as proof the situation is not
fabricated. We are actively monitoring each of these devices and their immediate
surroundings. Do not take any action against this threat until we have made our
terms clear. Do not attempt to evacuate students. Do not attempt to notify students
or faculty of the situation and do not prompt law enforcement to seek out these
devices until we have authorized you to do so. Non-compliance with our orders will
result in immediate detonation of all three devices and the death or injury of
hundreds of students. We will know if you try to issue any messages to students or
faculty via text or email.
These devices each have an explosive yield of at least 80 megajoules and contain
several pounds of metal shrapnel. If these bombs were detonated now, we estimate
that at least 40 students would die and hundreds be badly wounded. Our control
server is issuing encrypted packets to these devices that at a regular interval of 30
seconds which prevent them from detonating and if a scheduled packet fails to reach
one of the bombs within a second of its expected arrival that bomb will detonate
immediately, which means that any attempts to block our communication with
these devices will result in detonation in no more than 31 seconds.
If our demands are met we will issue a defusal message to all three devices which
will disarm them and we will disclose the location of all three bombs at once. If
you fail to meet our demands within 100 minutes of the initial call or violate any of
the conditions we have laid out for you all contact between us will be terminated
and the explosives will detonate immediately and without notice.
Each bomb is also being monitored by a live camera which we have access to. Any
attempt made to obstruct, disable, or interfere with these cameras will result in the
detonation of all three devices. We will also detonate these devices if we notice any
attempts to evacuate students or to tamper with any of the devices that we haven’t
explicitly authorized. Be warned, any attempts to manually defuse these devices

                                           3
             Case 1:23-cr-10157-AK Document 1-1 Filed 05/02/23 Page 4 of 12




        will surely prove futile. Each bomb is secured in a locking safe which we are
        confident you will be unable to pick. Furthermore, any attempts to crack these safes
        will very likely lead to the detonation of the explosive material contained inside.
        We will provide a phone number which you will text but never call, in order to
        negotiate our demands. You will get a negotiator to text us without hanging up or
        transferring this call. The number which you will use to contact us via text is 201-
        468-0677, I repeat 201-468-0677.
        Make no mistake time is not on your side any attempts to stall or distract us will
        only subtract from the time you have left to defuse this situation. You have roughly
        97 minutes to satisfy our demands less the events of today become a blood and stain
        on your nation’s history and on the history of Harvard University. As mentioned
        we will disclose the location of one explosive device to you, so that you can confirm
        the authenticity of this threat. The location of this bomb will be revealed as soon as
        it is made clear via text that you wish to cooperate with our demands. Whenever
        you are ready to confirm the authenticity of this threat send a plain clothed officer
        with a bomb sniffing K9, who should also be garbed in distinguishing attire, to the
        location we will disclose through text and the officer should have no difficulty
        locating the device with the help of his K9. He must ignore any attempts by students
        to speak with him.
        In the meantime, you should begin preparing a large bitcoin transaction as soon as
        possible so that any technical difficulties can be resolved in the next 96 minutes.
        We also request that you send the bitcoin using the fastest available transaction
        speed because if we cannot completely confirm payment when 100 minutes is up
        we will detonate the bombs regardless of whether there is a transaction in progress.
        We will defuse the devices and disclose their locations as soon as we can confirm
        the payment of an agreed upon bitcoin amount to the wallet we will disclose over
        text.
        6.       Between 14:36hrs and 16:06hrs on April 13, 2023, HUPD received another six calls

regarding the bombs and demand for payment. Five of those six calls were made from 201-468-

0677, and the voice was again the disguised mechanical voice. During the forth call to HUPD

dispatch at 15:25hrs, the caller gave a location and a description of one of the devices. He said

one of the devices was on the Science Center Plaza between two food trucks in a red and black

Husky tool bag. 2 April 13 was the first 80 degree day of the spring, a day when students and other


2
  I know from my training and experience that communications with mobile telephone devices are in and effecting
interstate commerce. I also know that Area Code 201 is a New Jersey area code. Moreover, I know from my

                                                       4
             Case 1:23-cr-10157-AK Document 1-1 Filed 05/02/23 Page 5 of 12




members of the Harvard community would reliably be eating, studying, and socializing in the plaza

and other outdoor spaces on campus.

                      Giordani Places The Device On The Science Center Plaza

        7.       The Harvard Common Spaces program of Harvard University manages a camera

that livestreams video of the Science Center plaza through a YouTube.com platform. In the days

following this incident, I was provided a copy of the video that captures an invididual placing a

device on Harvard University Science Center Plaza just after 2 p.m. on April 13, 2023. As outlined

below, there is probable cause to believe that that individual was GIORDANI.

        8.       The video starts at approximately 14:10:09 with a white male wearing a blue short

sleeved shirt and shorts, carrying a red and black tool bag in his right hand entering at the top left-

hand corner of screen. This individual walks on the plaza and exits at the bottom left-hand corner

of the screen approximately 36 seconds later. The white male is off camera for approximately two

minutes before reappearing carrying the red and black tool bag in his left hand.




training and experience, as well as from information from Google LLC that data associated with communications
from a Google Voice account is routed through Google data centers. Since there are no Google data centers in the
District of Massachusetts, there is also probable cause to believe that the threatening communications from the
Google Voice number 201-468-0677 were transmitted over state lines.

                                                        5
            Case 1:23-cr-10157-AK Document 1-1 Filed 05/02/23 Page 6 of 12




       9.       The individual walks to the center of the plaza and sits down on a bench and places

the red and black tool bag on the bench beside him.




       10.      The individual then appears to be looking at something in his hands, consistent with

someone looking or texting on a mobile phone, for several minutes. He stands up, leaves the bag

in the plaza, and walks toward the left-edge of the video. He again appears to be looking at

something in his hands before disappearing out of view of the camera. He reappears briefly

standing at a distance from the bag, and then walks out of view of the camera again. The individual

reappears and sits down next to the red and black tool bag on the bench again appearing to look at

something in his hands. At approximately 14:19 the individual stands up and walks way from the

red and black tool bag and appears to take a phone call. He walks in between the two food trucks

parked on the plaza. He briefly reappears behind one of the food trucks before leaving the plaza.

                                         Police Response

       11.      At 15:40hrs – shortly after the caller had identified the Science Center Plaza as the

location of one of the bombs -- HUPD officers went to the plaza and discovered the Husky tool

bag on a bench in the middle of the plaza where it had been placed by GIORDANI. HUPD cleared


                                                 6
         Case 1:23-cr-10157-AK Document 1-1 Filed 05/02/23 Page 7 of 12




the plaza, cordoned off the area around the bag, and also cleared the adjacent academic buildings

of all persons. An alert to avoid the area was also sent to the University community.

       12.     The Cambridge Police Department’s bomb disposal unit was alerted and responded

to the plaza. It assessed the bag and executed a controlled destruction using a robotic device. An

inventory of the device post-destruction revealed that the red and black Husky tool bag contained

a metal locking safe (similar to what would be found in a hotel room), a package of wire and a

quantity of fireworks inside the safe, and a small rectangular box with wires attached to it. The

following is an image of destroyed device:




       13.     The package of wire found in the bag had a yellow Home Depot sticker affixed to

it with the name “NGUYEN Minh,” and a phone number: 201-468-0677. The sticker also included

a bar code, an order number of WP63950968, the name Leo Desousa, Home Depot Store Manager

and the phone number (617) 442-6110 printed on it. Open source reporting revealed that (617)

442-6110 and Mr. Desousa are associated with the South Bay Center Home Depot located at 5

Allstate Road, Boston MA 02125.

                        Tracing the Home Depot Purchases to Giordani

       14.     On Friday, April 14, 2023, in response to an inquiry about the wire found in the

device found on the Science Center Plaza, Home Depot Loss Prevention Manager Chris

                                                7
         Case 1:23-cr-10157-AK Document 1-1 Filed 05/02/23 Page 8 of 12




Didomenico, provided store surveillance video and receipts of two purchases made on April 13,

2023, related to order WP63950968. According to Mr. Didomenico, online order WP63950968

was placed at approximately 6:52 a.m. on April 13, 2023, in the name of Minh Nguyen and had a

contact number listed as 201-468-0677. The pick up time was estimated to be at 8:49 am on

4/13/2023 and the pick up person was listed as “Minh Nguyen,” or “bill from craigslist.” The

order was for 250 ft. 18lbs 24 guage galvanized wire, a 0.58 Cu. Ft. Safe box with digital lock, and

a 24 inch 16 pocket zippered tool bag. The total amount of $170.96 was paid online via Home

Depot gift card number 156014850302. After the order was placed, the order for the zippered tool

bag was cancelled, as it was not in stock.

       15.     The pickup was made at approximately 11:45 a.m. by an individual later confirmed

to be GIORDANI. Home Depot issued a gift card for the tool bag which had been cancelled; the

gift card was issued to GIORDANI. GIORDANI was captured on secuirty video leaving the store

with the wire and the safe box:




                                                 8
          Case 1:23-cr-10157-AK Document 1-1 Filed 05/02/23 Page 9 of 12




        16.    GIORDANI was again captured on security video returning at approximately

12:20hrs and purchasing a Husky 22 inch spring-loaded tool bag:




        17.    In purchasing the bag, GIORDANI used the recently supplied Home Depot gift

card to make the purchase but, because the bag was more expensive than the gift card value, he

also used ten dollars in cash and a debit card in the name of a person referred to herein as “AC.“

Open source reporting shows that AC and William GIORDANI have resided together in the recent

past.

        18.    I have compared the images from the Home Depot secuirty cameras at the times of

these transactions with a registry of motor vehicles photograph of GIORDANI and confirmed that

they are the same individual. In addition, the clothing worn by the individual seen depositing the

                                                9
         Case 1:23-cr-10157-AK Document 1-1 Filed 05/02/23 Page 10 of 12




red and black bag in Science Center Plaza on April 13, 2023, appears to match the clothing worn

by GIORDANI at the South Bay Home Depot when he picked up the red and black Husky tool

bag, the wire, and the metal safe, earlier in the day.

                                   Officer Contact with Giordani

        28.    On April 25, 2023, other officers working on this matter contacted GIORDANI via

telephone and asked to meet with him. GIORDANI, while reluctant, agreed to meet with officers

at a specific location in Tyngsboro, Massachusetts at 10 a.m. on April 27, 2023.

        29.    On April 27, 2023, GIORDANI failed to appear at the agreed-upon location.

Officers spoke with him on the telephone again and GIORDANI claimed that he was not

comfortable meeting because he could not verify the fact that the officers were in fact who they

said they were. GIORDANI suggested that officers speak with his mother (referred to herein as

“DR”), which they did. In the call with DR on April 28, 2023, she agreed that she and her son

would meet officers at the FBI’s resident office in Bedford, New Hampshire at 10 am on May 1,

2023.

        30.    At 10 a.m. on May 1, 2023, DR appeared at the FBI’s resident office in Bedford,

New Hampshire and explained that her son refused to accompany her to the meeting. She stated

that GIORDANI was afraid that he would be arrested for transporting fireworks across state lines.

Officers asked DR if she would call her son and encourage him to come to the FBI office. She did

so in officers’ presence, and placed the call on speakerphone.

        31.    GIORDANI answered the call from DR. When DR said that the FBI wanted to

speak with him and to look at his mobile phone, he said that he knew that but that he didn't want

to get arrested for transporting fireworks across state lines. GIORDANI also that “all he did” was

respond to a craigslist ad and place the fireworks -- bottle rockets and roman candles -- and a cable



                                                  10
         Case 1:23-cr-10157-AK Document 1-1 Filed 05/02/23 Page 11 of 12




in a safe, put it in a bag, and place the bag at a square at Harvard. GIORDANI also told DR (while

officers listened) that he spoke to the person who placed the craigslist ad and that person told

GIORDANI that he would be calling Harvard Police to make a bomb threat to get money.

GIORDANI also stated that at the caller’s direction he then traveled to Worcester to get paid.

When GIORDANI arrived in Worcester, the person told GIORDANI that he wasn't able to meet

with him, and added that he wasn't Asian (as claimed in the craigslist ad), didn't have kids (as

claimed in the ad), and started "spouting off a bunch of racist things about blacks and Jews."

GIORDANI reiterated that he was not willing to give up his phone but that he would meet with

DR and send screenshots of all of the information that the FBI. GIORDANI asked DR to come

pick him up at a specific location in Nashua, New Hampshire.

       32.     Officers traveled to Nashua with DR.       When DR met GIORDANI, officers

approached them and introduced themselves to GIORDANI.              GIORDANI was extremely

displeased by DR’s decision to bring officers with her to the meeting and berated her. Officers

sought to calm GIORDANI, and then requested to speak with GIORDANI about the craigslist ad

and the events at Harvard. They also asked to review the communications on his phone with the

craigslist advertiser. GIORDANI refused to give access to his phone or to discuss the incident in

detail, claiming that the phone was “his business phone” and that there were also intimate

photographs on the device. While declining to show officers his mobile phone, GIORDANI

admitted that he knew what he did was wrong and that he "just put some fireworks in a safe and

put them at Harvard."

                                        CONCLUSION

       33.     On the basis of the foregoing information, there is probable cause to conclude that

WILLIAM A. GIORDANI did aid and abet another individual who, with intent to extort from



                                               11
         Case 1:23-cr-10157-AK Document 1-1 Filed 05/02/23 Page 12 of 12




Harvard University a thing of value, transmitted in interstate or foreign commerce a

communication containing a threat to injure the person of another, in violation of 18 U.S.C.

§§ 875(b) and 2; and did conspire with one or more persons to commit a violation of 18 U.S.C.

§ 875(b), and took an act to affect the object of the conspiracy, in violation of 18 U.S.C. § 371.



                                                      Thomas Karns /by Paul G. Levenson
                                                   THOMAS KARNS
                                                   Task Force Officer
                                                   Federal Bureau of Investigation


Sworn to and subscribed to me telephonically
this 2nd day of May 2023



_______________________________
                        _____
                           _______
                                ____
                                   ____
                                   __
Hon. Paul G. Levenson
United States Magistrate Judge




                                                 12
